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BRASS & CORDOVA
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Attorney for Sezgin Baran Korkmaz




                         IN THE UNITED STATES DISTRICT COURT

              IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 THE UNITED STATES OF AMERICA,

                 Plaintiff,                               APPEARANCE OF COUNSEL AND
                                                           MOTION FOR PRO HAC VICE
 v.                                                              ADMISSION

 SEZGIN BARAN KORKMAZ,                                             Case No. 2:21CR00140

                 Defendant.



         COMES NOW, the undersigned and moves for the pro hac vice admission of Matthew

Crowl and counsel for Sezgin Baran Korkmaz. I have consented to serve as local counsel and I am

in good standing with the Utah State Bar and admitted to practice before this Honorable Court.

The application of Mr. Crowl and proposed order are attached as exhibits and the admission fee

will be paid to the court at the time of filing. I certify that the Applicant:

         1)     is not a member of the Utah State Bar

         2)     does not maintain a law office in Utah

         3)     has not been admitted pro hac vice in any case in this district in the previous five

                years.
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   DATED this 13th day of July, 2022.

                               Respectfully submitted,



                               /s/ Kim Cordova____
                               Local Counsel for Sezgin Baran Korkmaz




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